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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                             )
GC2 INCORPORATED,                            )
                                             )    Case No.: 1:16-cv-08794
      Plaintiff,                             )
                                             )    JURY TRIAL DEMANDED
      vs.                                    )
                                             )    Judge:            Matthew F. Kennelly
International Game Technology PLC,           )    Magistrate Judge: Mary M. Rowland
et al                                        )
                                             )
                   Defendants.
                                             )

                                  NOTICE OF MOTION

       PLEASE TAKE NOTICE that on Thursday, April 5, 2018 at 9:30 a.m., or as soon as
counsel may be heard, I shall appear before The Honorable Matthew F. Kennelly in Room
2103 of the Everett McKinley Dirksen, United States Courthouse, 219 S. Dearborn Street,
Chicago, Illinois 60604, and shall then and there present Ryan J. Yager’s Motion to Withdraw
Appearance, a copy of which is hereby served upon you.

                                                 /s/ Ryan J. Yager
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                                                 Attorneys for Plaintiff GC2 Incorporated
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system this 2nd day
of April, 2018, upon all counsel of record.

                                                           /s/     Ryan Yager
